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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CYNTHIA PUGH,              :              1:18-cv-119
             Plaintiff,    :
                           :              Hon. John E. Jones III
                           :
PENNSYLVNAIA OFFICE OF THE :
ATTORNEY GENERAL,          :
            Defendant.     :

                                    ORDER

                               January 30, 2019

     The parties’ Joint Motion to Extend All Scheduling Order Deadlines (Doc.

29) is hereby GRANTED as follows:

           1. All previously issued case management dates are VACATED and

              the following dates shall APPLY:

              Discovery Deadline                  April 30, 2019

              Dispositive Motions Deadline        June 3, 2019

              Pretrial Conference                 September 3, 2019

              Jury Selection                      October 2, 2019

           2. All expert discovery deadlines are likewise extended by sixty (60)

              days.

                                    s/ John E. Jones III
                                    John E. Jones III
                                    United States District Judge
